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                                                                                U.S. DISTRICT 222
                                                                              NORTHERN DISTRICT OF TEXAS
                                                                                           FILED
                     IN THE UNITED STATES DISTRICT OURT
                         NORTHERN DISTRICT OF TEXAS                                  JAN - 8 2019
                             FORT WORTH DIVISION
                                                                               CLERK, U.S. DISTRICT COURT
DEBORAH PRATHER,                                  §
                                                                                  BY--...,,..--,.----
                                                  §                                         Dcputy

              Plaintiff,                          §
                                                  §
vs.                                               §    NO. 4:18-CV-668-A
                                                  §
CITIMORTGAGE, INC.,                               §
                                                  §
             Defendant.                           §


                           MEMORANDUM OPINION AND ORDER

      Came on for consideration the motion of defendant,

CitiMortgage, Inc., to dismiss. The court, having considered the

motion, the response of plaintiff, Deborah Prather, the reply,

the record, and applicable authorities, finds that the motion

should be granted.

                                                I.

                                   Plaintiff's Claims

      On August 6, 2018, plaintiff filed her original petition in

the District Court of Tarrant County, Texas,                           67th Judicial

District. Doc. 1 1, Ex. C-3.               On August 14, 2018, defendant filed

its notice of removal, bringing the action before this court. By

order signed October 9, 2018, the court ordered plaintiff to file

an amended complaint in keeping with the requirements of the

Federal Rules of Civil Procedure,                     local rules of this court, and

the judge-specific requirements of the undersigned. Doc. 13.


      'The "Doc.   "reference is to the number of the item on the docket in this action.
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           On October 19, 2018, plaintiff filed her first amended

complaint. Doc. 14. In it, she alleges:

           On or about March 13, 2008, plaintiff executed a note in the

amount of $128,087, and, along with her husband, executed a deed

of trust for the benefit of NTFN, Inc. 2 Doc. 13, , 8. On April

15, 2010, the note and deed of trust were assigned to defendant.

Id.,    , 11; Doc. 16, APP 2. On October 9, 2014, another assignment

of the deed of trust to defendant was executed and filed of

record in Tarrant County, Texas. Doc. 14, , 12; Doc. 16, APP 5.

Plaintiff and defendant executed a loan modification agreement

dated May 20, 2015. Doc. 14, , 13. On November 14, 2017,

defendant recorded an appointment of substitute trustee. Id.,

, 14. On June 21, 2018, defendant filed a notice of sale to be

conducted August 7, 2018. Id., , 15. A foreclosure sale was

conducted, but rescinded as a result of a temporary restraining

order having been issued by the state district court. Id., , , 17-

18.

        Plaintiff asserts claims for violation of the Texas Debt

Collection Act, Tex. Fin. Code§§ 392.001-.404 ("TDCA"),

violation of the Texas Property Code, and breach of contract. She

also seeks declaratory and injunctive relief.



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         lt appears that these documents were executed in connection with the purchase of real prope1ty
located in the City of Bedford, Tarrant County, Texas. Doc. 14, if 7.

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                                     II.

                          Grounds of the Motion

     Defendant asserts that plaintiff has not pleaded any

plausible causes of action and that her amended complaint must be

dismissed.

                                    III.

                      Applicable Pleading Standards

     Rule 8 (a) (2) of the Federal Rules of Civil Procedure

provides, in a general way, the applicable standard of pleading.

It requires that a complaint contain "a short and plain statement

of the claim showing that the pleader is entitled to relief,"

Fed. R. Civ. P. B(a) (2),      "in order to give the defendant fair

notice of what the claim is and the grounds upon which it rests,"

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)          (internal

quotation marks and ellipsis omitted) . Although a complaint need

not contain detailed factual allegations, the "showing•

contemplated by Rule 8 requires the plaintiff to do more than

simply allege legal conclusions or recite the elements of a cause

of action. Twombly, 550 U.S. at 555 & n.3. Thus, while a court

must accept all of the factual allegations in the complaint as

true, it need not credit bare legal conclusions that are

unsupported by any factual underpinnings. See Ashcroft v. Iqbal,

556 U.S. 662,   679   (2009)   ("While legal conclusions can provide


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the framework of a complaint, they must be supported by factual

allegations.")

     Moreover, to survive a motion to dismiss for failure to

state a claim, the facts pleaded must allow the court to infer

that the plaintiff's right to relief is plausible. Igbal, 556

U.S. at 678. To allege a plausible right to relief, the facts

pleaded must suggest liability; allegations that are merely

consistent with unlawful conduct are insufficient. Id. In other

words, where the facts pleaded do no more than permit the court

to infer the possibility of misconduct, the complaint has not

shown that the pleader is entitled to relief. Id. at 679.

"Determining whether a complaint states a plausible claim for

relief .            [is]   a context-specific task that requires the

reviewing court to draw on its judicial experience and common

sense.   11
              Id.

     As the Fifth Circuit has explained: "Where the complaint is

devoid of facts that would put the defendant on notice as to what

conduct supports the claims, the complaint fails to satisfy the

requirement of notice pleading." Anderson v. U.S. Dep't of

Housing & Urban Dev., 554 F.3d 525, 528          (5th Cir. 2008). In sum,

"a complaint must do more than name laws that may have been

violated by the defendant; it must also allege facts regarding

what conduct violated those laws. In other words, a complaint


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must put the defendant on notice as to what conduct is being

called for defense in a court of law." Id. at 528-29.

     In considering a motion to dismiss for failure to state a

claim, the court may consider documents attached to the motion if

they are referred to in the plaintiff's complaint and are central

to the plaintiff's claims. Scanlan v. Tex. A&M Univ., 343 F.3d

533, 536 (5th Cir. 2003). The court may also refer to matters of

public record. Davis v. Bayless, 70 F.3d 367, 372 n.3          (5th Cir.

1995); Cinel v. Connick,    15 F.3d 1338, 1343 n.6      (5th Cir. 1994).

This includes taking notice of pending judicial proceedings.

Patterson v. Mobil Oil Corp., 335 F.3d 476, 481 n.1          (5th Cir.

2003). And, it includes taking notice of governmental websites.

Kitty Hawk Aircargo, Inc. v. Chao, 418 F.3d 453, 457          (5th Cir.

2005); Coleman v. Dretke, 409 F.3d 665, 667         (5th Cir. 2005).

     Rule 9(b) sets forth the heightened pleading standard

imposed for fraud claims: "In alleging fraud or mistake, a party

must state with particularity the circumstances constituting

fraud or mistake." The Fifth Circuit requires a party asserting

fraud to "specify the statements contended to be fraudulent,

identify the speaker, state when and where the statements were

made, and explain why the statements were fraudulent.'' Hermann

Holdings, Ltd. v. Lucent Techs., Inc., 302 F.3d 552, 564-65 (5th

Cir. 2002) (internal quotations and citations omitted). Succinctly


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stated, Rule 9(b) requires a party to identify in its pleading

"the who, what, when, where, and how" of the events constituting

the purported fraud. Dorsey v. Portfolio Equities, Inc., 540 F.3d

333, 339 (5th Cir. 2008). Rule 9(b) applies to all cases where

the gravamen of the claim is fraud even though the theory

supporting the claim is not technically termed fraud. Frith v.

Guardian Life Ins. Co. of Am., 9 F. Supp. 2d 734, 742          (S.D. Tex.

1998). Statutory claims based on allegations of fraud, such as

violations of the Texas Insurance Code, the TDCA, and the Texas

DTPA, as well as those for fraud, fraudulent inducement,

fraudulent concealment, and negligent misrepresentation are

subject to the requirements of Rule 9(b). Motten v. Chase Home

Fin., 831 F. Supp. 2d 988, 994      (S.D. Tex. 2011); Berry v.

Indianapolis Life Ins. Co., 608 F. Supp. 2d 785, 800          (N.D. Tex.

2009); Frith, 9 F. Supp. 2d at 742.

                                    IV.

                                Analysis

     The TDCA does not prohibit a creditor from exercising or

threatening to exercise a statutory or contractual right of

seizure, repossession, or sale that does not require court

proceedings. Tex. Fin. Code    §   392.301(b) (3). Juarez v. Wells

Fargo Bank, N.A., No. 5-17-CV-00756-FB-RBF, 2018 WL 835211, at *5

(W.D. Tex. Feb. 12, 2018); Jones v. Wells Fargo Bank. N.A., No.


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5-14-CR-943 RP, 2015 WL 12734177, at *3       (W.D. Tex. Jan. 21,

2015). Here, foreclosure      (or the threat thereof) appears to be

the basis of plaintiff's claims. To the extent plaintiff is

questioning the authority of purported authorized agents to make

the assignments of the note and deed of trust or otherwise act on

behalf of defendant, she does not have standing to assert such

claims. See Reinagel v. Deutsche Bank Nat'l Tr. Co., 735 F.3d

220, 226   (5th Cir. 2013).

     To violate the TDCA by deceptive acts or practices,

defendant must have made an affirmative statement that was false

or misleading. Robinson v. Wells Fargo Bank, N.A., 576 F. App'x

358, 363   (5th Cir. 2014). Here, plaintiff makes nothing but

conclusory allegations that are insufficient to state a claim.

Jones, 2015 WL 12734177, at *3.

     Section 3 92. 3 04 (a) ( 8) prohibits mortgage servicers from

making misrepresentations about a debt. To state a claim for

violation of this provision, plaintiff must allege that defendant

made a misrepresentation that caused her to be unaware (1) that

she had a mortgage debt,      (2) of the specific amount she owed, or

(3) that she had defaulted. Rucker v. Bank of Am., N.A.,          806 F.3d

828, 832   (5th Cir. 2015); Miller v. BAC Home Loans Serv., Inc.,

726 F.3d 717, 723   (5th Cir. 2013). She does not make such

allegations. And, in any event, she admits that the foreclosure


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sale at issue was rescinded. Section 392.304(19), which plaintiff

also references, prohibits using any other false representation

or deceptive means to collect a debt or obtain information

concerning a consumer. Plaintiff does not make any allegations to

support such a claim.

     Section 392.303(a) (2) of the TDCA prohibits collecting or

attempting to collect interest or a charge, fee, or expense

incidental to the obligation unless the interest or incidental

charge,   fee, or expense is expressly authorized by the agreement

creating the obligation or legally chargeable to the consumer. To

pursue a claim under this section, plaintiff must identify the

unauthorized fees or charges. Williams v. Wells Fargo Bank, N.A.,

560 F. App'X 233, 240    (5th Cir. 2014); Adams       V.   U.S. Bank, N.A.'

No. 3:17-CV-723-B-BN, 2018 WL 2164520, at *11 (N.D. Tex. Apr. 18

2018) . Conclusory allegations, such as asserted here, are

insufficient to state a claim. Id.

     Under Texas law, there is no private right of action for

violation of Texas Property Code        §   51.002. Carey v. Wells Fargo,

N.A., No. H-15-1666, 2016 WL 4246997, at *3          (S.D. Tex. Aug. 11,

2016); Ashton v. BAC Home Loan Serv., L.P., No. 4:13-CV-810, 2013

WL 3807756, at *2   (S.D. Tex. July 19, 2013). Instead, courts have

construed complaints about violation of section 51.002 as claims

for wrongful foreclosure. Carey, 2016 WL 4246997, at *3. The


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elements of a claim for wrongful foreclosure are:          (1) a defect in

the foreclosure sale proceedings;       (2) a grossly inadequate

selling price; and (3) a causal connection between the defect and

the grossly inadequate selling price. Barcenas v. Fed. Home Loan

Mortgage Corp., No. H-12-2466, 2013 WL 286250, at *5 (S.D. Tex.

Jan. 24, 2013). In this case, plaintiff has not alleged a grossly

inadequate selling price. Rather, she appears to be relying on a

theory of attempted wrongful foreclosure, but there is no such

cause of action. Foster v. Deutsche Bank Nat'l Tr. Co., 848 F.3d

403,   406-07   (5th Cir. 2017); Iroh v. Bank of Am., N.A., No. 4:15-

CV-1601, 2015 WL 9243826, at *4      (S.D. Tex. Dec. 17, 2015). And,

one who has never lost possession of her property cannot recover

on a wrongful foreclosure theory. Motten v. Chase Home Fin., 831

F. Supp. 2d 988, 1007 (S.D. Tex. 2011).

       The elements of breach of contract are:       (1) existence of a

valid contract,    (2) performance tendered by plaintiff,       (3) breach

of contract by defendant, and (4) damages sustained by plaintiff

as a result. Sport Supply Grp., Inc. v. Columbia Cas. Co., 335

F.3d 453, 465    (5th Cir. 2003). Here, it appears that plaintiff is

contending that persons purporting to act on behalf of defendant

did not have authority to do so and that defendant breached the

contract by failing to give proper notices. Doc. 14, , , 38-41.

Plaintiff does not identify the contractual provisions she


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alleges were breached, as is required to state a plausible claim.

JohnCharles v. Wells Fargo Bank, N.A., No. 4:18-CV-00507-0-BP,

2018 WL 6681937, at *5 (N.D. Tex. Nov. 30, 2018).           More

importantly, plaintiff does not allege that she complied with the

terms of the contract and, in fact, implicit in her complaint is

the admission that she failed to make mortgage payments as

required. A plaintiff who has breached a loan agreement by

failing to make mortgage payments has no plausible claim for

breach of contract. JohnCharles, 2018 WL 6681937, at *6; Ashton

v. BAC Home Loans Serv., L.P., No. 4:13-CV-810, 2013 WL 3807756,

at *4 (S.D. Tex. July 19, 2013). In addition, purported

violations of statutory provisions do not constitute breach of

contract. Uzodinma v. JPMorgan Chase Bank, N.A., No. 3:13-CV-

5010-L, 2014 WL 4055367, at *4      (N.D. Tex. Aug. 14, 2014).

     Plaintiff additionally seeks declaratory and injunctive

relief, but these requests depend upon underlying claims. Collin

County, Tex. v. Homeowners Ass'n for Values Essential to

Neighborhoods, 915 F.2d 167, 170-71 (5th Cir. 1990); Johnson v.

Wells Fargo Bank, N.A., 999 F. Supp. 2d 919, 935          (N.D. Tex.

2014); Cook v. Wells Fargo Bank, N.A., No. 3:10-CV-592-D, 2010 WL

2772445, at *4 (N.D. Tex. July 12, 2010).

     Finally, in her response, plaintiff mentions that she can

identify specific provisions of the contract she says was


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breached. Doc. 19 at 8. For the reasons discussed, plaintiff

cannot pursue a breach of contract claim. Hence, any amendement

in that regard would be futile. Moreover, plaintiff has already

been given an opportunity to amend her pleadings. Doc. 13. And,

in any event, she has had ample time in which to seek further

leave to amend had she thought it necessary. The local civil

rules of this court are very clear regarding what is required.

See Local Civil Rule LR 15.l(a).

                                    v.
                                  Order

     The court ORDERS that defendant's motion to dismiss be, and

is hereby, granted, and plaintiff's claims be, and are hereby,

dismissed.

     SIGNED January 8, 2019.
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                                                /




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